
660 S.E.2d 57 (2008)
STATE of North Carolina
v.
Anthony Dewayne DAYE.
No. 401P07.
Supreme Court of North Carolina.
March 6, 2008.
Anthony D. Daye, Pro Se.
Gayl M. Manthei, Assistant Attorney General, Garry W. Frank, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed on the 10th day of August 2007 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 6th day of March 2008."
